 Case 17-09308       Doc 212    Filed 08/16/17 Entered 08/16/17 15:11:22              Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                       Eastern Division

In Re:                                       )               BK No.: 17-09308
MACK INDUSTRIES, LTD., et al.                )               (Jointly Administered)
                                             )               Chapter: 7
                                             )
                                                             Honorable Carol Doyle
                                             )
                                             )
               Debtor(s)                     )

                                ORDER GRANTING PAYMENT
                              ADMINISTRATIVE EXPENSE CLAIM

        Upon consideration of Goldstein & McClintock LLLP's (“G&M”) Motion for Entry of an Order
Allowing the Immediate Payment of Its Administrative Expense Claim as Counsel to Various Creditors
of Oak Park Avenue Realty, Ltd. (the "Motion"); capitalized terms used but not defined herein shall
have the meaning given to such term in the Motion; and it appearing to the Court that the amounts
requested in the Claim are reasonable; the Court further finding that the services rendered and expenses
incurred by G&M on behalf of the Creditors were actual and necessary to the administration of, and
actually benefited, the Debtor's bankruptcy estate; and it appearing that notice of this Motion and
opportunity for a hearing was appropriate under the particular circumstances and that no other or further
notice need be given; and after due deliberation and sufficient cause appearing therefor, IT IS HEREBY
ORDERED THAT:

  1. The Court hereby allows G&M an administrative expense claim pursuant to 503(b)(3)(A) of title
11 of the United States Code in the amount of $35,604.04.



                                                          Enter:



                                                                   Honorable Carol A. Doyle
Dated: August 16, 2017                                             United States Bankruptcy Judge

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